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                          No. 22-40516


                      IN THE
          UNITED STATES COURT OF APPEALS
               FOR THE FIFTH CIRCUIT


                 UNITED STATES OF AMERICA,
                       Plaintiff-Appellee,

                                  v.

                      REID ETHERIDGE,
                      Defendant-Appellant.


          Appeal from the United States District Court
              for the Southern District of Texas

                   ______________________

                     RECORD EXCERPTS
                   ______________________




                             MARJORIE A. MEYERS
                             Federal Public Defender
                             Southern District of Texas

                             EVAN G. HOWZE
                             Assistant Federal Public Defender
                             Attorneys for Appellant
                             440 Louisiana Street, Suite 1350
                             Houston, Texas 77002-1669
                             Telephone: (713) 718-4600
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                                      RECORD EXCERPTS



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1.   Docket sheet..................................................................................... ROA.1-15

2.   Indictment ...................................................................................... ROA.39-42

3.   Judgment .................................................................................... ROA.166-172

4.   Notice of appeal ......................................................................... ROA.173-174

5.   Certificate of service.
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                                                             APPEAL,APPEAL_NAT,CLOSED,DOCSENT
                                 U.S. District Court
                       SOUTHERN DISTRICT OF TEXAS (McAllen)
                     CRIMINAL DOCKET FOR CASE #: 7:20-cr-01791-1
                                 Internal Use Only

Case title: USA v. Etheridge et al

Magistrate judge case number: 7:20-mj-02048

Date Filed: 10/20/2020

Date Terminated: 07/21/2022

Assigned to: Judge Randy Crane


Defendant (1)
Reid Etheridge                          represented by Federal Public Defender - McAllen
TERMINATED: 07/21/2022                                 1701 W Hwy 83
                                                       Ste 405
                                                       McAllen, TX 78501-5159
                                                       956-630-2995
                                                       Email: mca_ecf@fd.org
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Public Defender or Community Defender
                                                       Appointment

                                                      Evan Gray Howze
                                                      Federal Public Defender, Southern District of Texas
                                                      440 Louisiana
                                                      Ste 1350
                                                      Houston, TX 77002
                                                      713-718-4600
                                                      Fax: 713-718-4610
                                                      Email: Evan_Howze@fd.org
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Public Defender or Community Defender
                                                      Appointment

                                                      Jose Angel Martinez , Jr.
                                                      Federal Public Defender
                                                      1701 W. Bus. Hwy 83
                                                      Ste. 405
                                                      McAllen, TX 78501
                                                      956-630-2995
                                                      Fax: 956-631-8647
                                                      Email: jose_a_martinez@fd.org

                                                                                              22-40516.1
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                                            TERMINATED: 10/07/2020
                                            Designation: Public Defender or Community Defender
                                            Appointment

                                            Osvaldo J Morales , III
                                            Attorney at Law
                                            106 S. 12th Ave., Ste 101
                                            Edinburg, TX 78539
                                            956-584-1081
                                            Fax: 956-584-1844
                                            Email: lawojm@gmail.com
                                            TERMINATED: 08/04/2022
                                            Designation: Retained

                                            Rudy Santiago Moreno
                                            The Law Office of Rudy Moreno
                                            5526 North 10th Street
                                            McAllen, TX 78504
                                            956-682-9477
                                            Fax: 956-682-0223
                                            Email: rmoreno@rmorenolaw.com
                                            TERMINATED: 10/13/2020
                                            Designation: Retained

                                            Victoria Guerra
                                            Law Office of Victoria Guerra
                                            Co-counsel
                                            3219 N. McColl Rd.
                                            McAllen,, TX 78501
                                            956-618-2609
                                            Fax: 956-618-2553
                                            Email: VGuerralaw@gmail.com
                                            TERMINATED: 08/04/2022
                                            Designation: Retained


Pending Counts                              Disposition
                                            Three hundred and sixty (360) months custody of the
                                            Bureau of Prisons and life supervised release term with
                                            special conditions with special conditions Sex
                                            Offender Registration and Notification Act
                                            Requirements, No Contact with Minors, No Possession
                                            of Pornographic Materials, Computer
                                            Restrictions/Monitoring, Sex Offender Treatment, Sex
SEXUAL EXPLOITATION OF
                                            Offender Safety Zone, Sex Offender
CHILDREN
                                            Employment/Activity Prohibition, Sex Offender Minor
(1)
                                            Date/Cohabitate Prohibition, Sex Offender Victim
                                            Contact Prohibition, as noted in final presentence
                                            report; no contact with co-defendant, to run concurrent
                                            with Count 2 and 3; Restitution in the amount $12,000
                                            to Victim #1 and $10,000 to Victim #2, payable
                                            immediately after defendant is released from jail; $100
                                            special assessment; waived fine.

                                                                                       22-40516.2
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                                                 Three hundred and sixty (360) months custody of the
                                                 Bureau of Prisons and life supervised release term with
                                                 special conditions with special conditions Sex
                                                 Offender Registration and Notification Act
                                                 Requirements, No Contact with Minors, No Possession
                                                 of Pornographic Materials, Computer
                                                 Restrictions/Monitoring, Sex Offender Treatment, Sex
SEXUAL EXPLOITATION OF
                                                 Offender Safety Zone, Sex Offender
CHILDREN
                                                 Employment/Activity Prohibition, Sex Offender Minor
(2)
                                                 Date/Cohabitate Prohibition, Sex Offender Victim
                                                 Contact Prohibition, as noted in final presentence
                                                 report, no contact with co-defendant, to run concurrent
                                                 with Count 1 and 4; Restitution in the amount $12,000
                                                 to Victim #1 and $10,000 to Victim #2, payable
                                                 immediately after defendant is released from jail; $100
                                                 special assessment; waived fine.
                                                 Life custody of the Bureau of Prisons and Life in
                                                 supervised release term, if released, to run concurrent
                                                 with Counts 1 and 2, with special conditions Sex
                                                 Offender Registration and Notification Act
                                                 Requirements, No Contact with Minors, No Possession
                                                 of Pornographic Materials, Computer
COERCION OR ENTICEMENT                           Restrictions/Monitoring, Sex Offender Treatment, Sex
OF FEMALE                                        Offender Safety Zone, Sex Offender
(3)                                              Employment/Activity Prohibition, Sex Offender Minor
                                                 Date/Cohabitate Prohibition, Sex Offender Victim
                                                 Contact Prohibition, no contact with co-defendant, as
                                                 noted in final presentence report; Restitution in the
                                                 amount $12,000 to Victim #1 and $10,000 to Victim
                                                 #2, payable immediately after defendant is released
                                                 from jail; $100 special assessment; waive fine.


Highest Offense Level (Opening)
Felony


Terminated Counts                                Disposition
SEXUAL EXPLOITATION OF
MINORS                                           Dismissed on Government's oral motion.
(5)


Highest Offense Level
(Terminated)
Felony


Complaints                                       Disposition
18:2251.F




                                                                                            22-40516.3
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Plaintiff
USA                                                represented by Carmen Castillo Mitchell
                                                                  United States Attorney's Office
                                                                  1000 Louisiana
                                                                  Ste 2300
                                                                  Houston, TX 77002
                                                                  713-567-9541
                                                                  Fax: 713-718-3302
                                                                  Email: carmen.mitchell@usdoj.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: Retained

                                                                   Michael L Mitchell
                                                                   US Attorney's Office
                                                                   1701 W Hwy 83
                                                                   Ste 600
                                                                   McAllen, TX 78501
                                                                   956-618-8010
                                                                   Email: michael.mitchell4@usdoj.gov
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Retained

                                                                   Financial Litigation
                                                                   U S Attorney's Office
                                                                   Southern District of Texas
                                                                   1000 Louisiana St
                                                                   Ste 2300
                                                                   Houston, TX 77002
                                                                   713-567-9000
                                                                   Fax: 713-718-3391 fax
                                                                   Email: flu.usatxs-@usdoj.gov
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Retained

 Date Filed       #       Docket Text

 10/02/2020               Judge Magistrate Judge J Scott Hacker assigned to case. (drodriguez, 7)
                          [7:20-mj-02048] (Entered: 10/05/2020)

 10/02/2020    1 (p.16)   CRIMINAL COMPLAINT as to Reid Etheridge (1), filed. Initial Appearance set for
                          10/5/2020 at 09:15 AM before Magistrate Judge J Scott Hacker (drodriguez, 7)
                          [7:20-mj-02048] (Entered: 10/05/2020)

 10/02/2020               Arrest of Reid Etheridge, filed. (drodriguez, 7) [7:20-mj-02048] (Entered:
                          10/05/2020)

 10/05/2020           2 AO 257 Information Sheet as to Reid Etheridge, filed.(drodriguez, 7) [7:20-mj-02048]
                (p.387) (Entered: 10/05/2020)

 10/05/2020               Minute Entry for proceedings held before Magistrate Judge J Scott Hacker. INITIAL
                          APPEARANCE on Criminal Complaint as to Reid Etheridge, held on 10/5/2020.

                                                                                                       22-40516.4
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                         (Deft informed of rights.) Defendant requests appointed counsel. Deft examined as to
                         Financial Affidavit. Court grants. Government moves for temporary detention and
                         continuance to prepare for detention hearing. Court grants. Preliminary Examination
                         & Detention Hearing set for 10/8/2020 at 01:00PM before Magistrate Judge J. Scott
                         Hacker. Defendant consented to the hearing being held via VTC (Video
                         TeleConference). Court grants Government's Oral Motion case is unsealed, it was
                         sealed by mistake......Government to file a written Order to Unseal. Appearances:
                         Michael Mitchell, AUSA;. (PTS: Marina Garza) (ERO: Yesenia Ibarra) (Interpreter:
                         Noe Murillo/Woody Lewis/not used) (DUSM: Andre Rodriguez) Deft remanded to
                         custody. (jaleyvaadi, 7) [7:20-mj-02048] (Entered: 10/05/2020)

10/05/2020    3 (p.18)   ORDER APPOINTING FEDERAL PUBLIC DEFENDER for Reid Etheridge
                         (Signed by Magistrate Judge J Scott Hacker). Parties notified. (jaleyvaadi, 7)
                         [7:20-mj-02048] (Entered: 10/05/2020)

10/05/2020    4 (p.19)   Order of Temporary Detention Pending Hearing as to Reid Etheridge. Preliminary
                         Examination & Detention Hearing set for 10/8/2020 at 01:00 PM before Magistrate
                         Judge J Scott Hacker. ( Signed by Magistrate Judge J Scott Hacker) Parties notified.
                         (jaleyvaadi, 7) [7:20-mj-02048] (Entered: 10/05/2020)

10/05/2020    5 (p.20)   MOTION to Unseal Document Complaint by USA as to Reid Etheridge, filed.
                         (Attachments: # 1 (p.16) Proposed Order Order Granting Motion)(Mitchell, Michael)
                         [7:20-mj-02048] (Entered: 10/05/2020)

10/05/2020               NOTICE OF ATTORNEY APPEARANCE Jose Angel Martinez, Jr, Federal Public
                         Defender, in case as to Reid Etheridge, filed.(Martinez, Jose) [7:20-mj-02048]
                         (Entered: 10/05/2020)

10/05/2020               US ATTORNEY'S NOTICE OF APPEARANCE. Michael L Mitchell appearing for
                         USA, filed.(Mitchell, Michael) [7:20-mj-02048] (Entered: 10/05/2020)

10/05/2020          6    Sealed Financial Affidavit CJA 23 by Reid Etheridge, filed. [7:20-mj-02048]
                         (Entered: 10/05/2020)

10/07/2020    7 (p.22)   Unopposed MOTION to Substitute Attorney Rudy Santiago Moreno for Attorney
                         Jose Angel Martinez, Jr. by Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed
                         Order)(Moreno, Rudy) [7:20-mj-02048] (Entered: 10/07/2020)

10/07/2020    8 (p.25)   ORDER granting 7 (p.22) Motion to Substitute Attorney Rudy Moreno in place of
                         Jose Martinez as to Reid Etheridge (1).(Signed by Magistrate Judge J Scott Hacker.)
                         Parties notified.(drodriguez, 7) [7:20-mj-02048] (Entered: 10/07/2020)

10/07/2020    9 (p.26)   ORDER ON APPLICATIONregarding 5 (p.20) Motion to Unseal Document as to
                         Reid Etheridge (1).(Signed by Magistrate Judge J Scott Hacker.) Parties
                         notified.(drodriguez, 7) [7:20-mj-02048] (Entered: 10/07/2020)

10/07/2020          10 Unopposed MOTION to Continue Preliminary Examination & Detention Hearing by
                (p.27) Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed Order)(Moreno, Rudy)
                       [7:20-mj-02048] (Entered: 10/07/2020)

10/08/2020          11 ORDER granting 10 (p.27) Motion to Continue Preliminary Examination & Detention
                (p.31) Hearing as to Reid Etheridge (1) Preliminary Examination & Detention Hearing set
                       for 10/14/2020 at 03:00 PM before Magistrate Judge J Scott Hacker.(Signed by
                       Magistrate Judge J Scott Hacker.) Parties notified.(YeseniaIbarra, 7) [7:20-mj-02048]
                       (Entered: 10/08/2020)



                                                                                                     22-40516.5
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10/13/2020          12 MOTION to Substitute Attorney Osvaldo J Morales, III for Attorney Rudy Moreno by
                (p.32) Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo)
                       [7:20-mj-02048] (Entered: 10/13/2020)

10/13/2020          13 ORDER granting 12 (p.32) Motion to Substitute Attorney as to Reid Etheridge
                (p.35) (1).(Signed by Magistrate Judge J Scott Hacker.) Parties notified.(YeseniaIbarra, 7)
                       [7:20-mj-02048] (Entered: 10/13/2020)

10/14/2020          14 Pretrial Services Report (Sealed) as to Reid Etheridge. NOTICE: Document available
               (p.388) to applicable parties only. Authorized users enter CM/ECF Filer login and password
                       first for authentication. Be sure to SAVE the document locally at the time of viewing,
                       filed. (osvillarreal, 7) [7:20-mj-02048] (Entered: 10/14/2020)

10/14/2020              Minute Entry for proceedings held before Magistrate Judge J Scott Hacker:
                        PRELIMINARY EXAMINATION AND DETENTION HEARING as to Reid
                        Etheridge held on 10/14/2020. Defendant agreed to having the hearings by video
                        conference. Defendant, through counsel, waived the Preliminary Examination; Court
                        found Probable Cause. Regarding the Detention Hearing, the Court heard the
                        arguments from the parties. The Court took judicial notice of the Pretrial Report (Dkt.
                        No. 14) and stated that it would issue a ruling on a later date. Defendant remanded to
                        the custody of U.S. Marshals Service. Appearances: Michael Mitchell, AUSA;
                        Osvaldo J. Morales, III (by video conference), Retained Atty. (ERO: David
                        Rodriguez)(Interpreter: Woody Lewis/not used)(USPO: Robert Weaver)(DUSM:
                        Mario Loya), filed. (jhacker). Modified on 10/14/2020 (jhacker). [7:20-mj-02048]
                        (Entered: 10/14/2020)

10/16/2020          15 ORDER OF DETENTION PENDING TRIAL as to Reid Etheridge ( Signed by
                (p.36) Magistrate Judge J Scott Hacker) Parties notified. (AdrianDeLaRosa, 7)
                       [7:20-mj-02048] (Entered: 10/16/2020)

10/20/2020          16 INDICTMENT (The original indictment with the signature of the grand jury
                (p.39) foreperson is on file under seal with the clerk) as to Reid Etheridge (1) count(s) 1-2,
                       3, 5, Alicia Cronkhite (2) count(s) 1, 4, 6, filed. (Attachments: # 1 (p.16) Judge's
                       Procedures) (kanelson, 7) (Entered: 10/21/2020)

10/20/2020          17 US Attys Criminal Docket Sheet as to Reid Etheridge, Alicia Cronkhite,
                (p.43) filed.(kanelson, 7) (Entered: 10/21/2020)

10/21/2020          18 NOTICE OF SETTING as to Reid Etheridge, Alicia Cronkhite. Arraignment set for
                (p.44) 10/30/2020 at 03:00 PM before Magistrate Judge J Scott Hacker, filed. (kanelson, 7)
                       (Entered: 10/21/2020)

10/21/2020          19 SCHEDULING ORDER as to Reid Etheridge. Arraignment will be held on October
                (p.45) 30, 2020. Motion Filing due by 11/9/2020. Responses due by 11/27/2020. Final
                       Pretrial Conference set for 12/4/2020 at 09:00 AM before Judge Randy Crane. Jury
                       Selection set for 12/8/2020 at 09:30 AM before Judge Randy Crane. Deadline for
                       Motions for Continuance: 11/20/2020. ( Signed by Magistrate Judge J Scott Hacker)
                       Parties notified. (jaleyvaadi, 7) (Entered: 10/21/2020)

10/28/2020          23 WAIVER of Presence at Arraignment and Entry of Plea of Not Guilty, filed.(Morales,
                (p.47) Osvaldo) (Entered: 10/28/2020)

10/29/2020              (Court only) MOTIONS as to Reid Etheridge REFERRED to Magistrate Judge J
                        Scott Hacker: 23 (p.47) WAIVER of Presence at Arraignment and Entry of Plea of
                        Not Guilty. Designated staff for referral judge notified by NEF. (drodriguez, 7)
                        (Entered: 10/29/2020)

                                                                                                      22-40516.6
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10/29/2020          24 ORDER granting 23 (p.47) Waiver of Presence at Arraignment as to Reid Etheridge
                (p.48) (1).(Signed by Magistrate Judge J Scott Hacker.) Parties notified.(AdrianDeLaRosa,
                       7) (Entered: 10/29/2020)

12/01/2020          26 Unopposed MOTION for Leave to File Unopposed Motion for Continuance by Reid
                (p.49) Etheridge, filed. (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo)
                       (Entered: 12/01/2020)

12/01/2020          27 Unopposed MOTION to Continue Final Pretrial Conference and Jury Selection by
                (p.52) Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo)
                       (Entered: 12/01/2020)

12/02/2020          28 ORDER GRANTING UNOPPOSED CONTINUANCE as to Reid Etheridge, Alicia
                (p.55) Cronkhite ( Final Pretrial Conference reset for 1/29/2021 at 09:00 AM before Judge
                       Randy Crane, Jury Selection reset for 2/2/2021 at 09:30 AM before Judge Randy
                       Crane) ( Signed by Judge Randy Crane) Parties notified. (agarcia, 7) (Entered:
                       12/02/2020)

12/10/2020          29 Opposed MOTION for Discovery by Reid Etheridge, filed. (Morales, Osvaldo)
                (p.56) (Entered: 12/10/2020)

01/19/2021          30 Unopposed MOTION to Continue Trial Settings by Reid Etheridge, filed. (Morales,
                (p.60) Osvaldo) (Entered: 01/19/2021)

01/27/2021          33 ORDER GRANTING UNOPPOSED CONTINUANCE as to Reid Etheridge, Alicia
                (p.62) Cronkhite granting 30 (p.60) Unopposed MOTION to Continue Trial Settings ( Final
                       Pretrial Conference set for 4/1/2021 at 09:00 AM before Judge Randy Crane, Jury
                       Selection set for 4/6/2021 at 09:30 AM before Judge Randy Crane) ( Signed by Judge
                       Randy Crane) Parties notified. (drodriguez, 7) (Entered: 01/27/2021)

03/31/2021          34 NOTICE OF RESETTING as to Reid Etheridge (1), Alicia Cronkhite(2).
                (p.63) Re-Arraignment set for 4/1/2021 at 08:30 AM before Judge Randy Crane, filed.
                       (DeliaRodriguez, 7) (Entered: 03/31/2021)

03/31/2021          35 NOTICE of Of Intention to Enter a Plea of Guilty by Reid Etheridge, filed.(Morales,
                (p.64) Osvaldo) (Entered: 03/31/2021)

04/01/2021              Minute Entry for proceedings held before Judge Randy Crane: RE-ARRAIGNMENT
                        held on 4/1/2021. Reid Etheridge (1). The defendant entered a plea of "Guilty" as to
                        Counts 1, 2 and 3 of Indictment. Plea Agreement, filed. Appearances: Michael L.
                        Mitchell, AUSA; Osvaldo J. Morales, III, AFPD; E. Lozoya, US Probation-Mc.(ERO:
                        Ricardo Rodriguez) (Interpreter: Elena Medrano-not used.) Deft remanded to custody
                        of the Marshal., filed.(DeliaRodriguez, 7) (Entered: 04/01/2021)

04/01/2021              **Terminate Deadlines and Hearings as to Reid Etheridge: (DeliaRodriguez, 7)
                        (Entered: 04/01/2021)

04/01/2021          37 ORDER for Presentence Investigation and Disclosure & Sentencing Dates as to Reid
                (p.65) Etheridge. PSI Completion due by 5/11/2021 Objection to PSI due by 5/25/2021 Final
                       PSI due by 6/8/2021 Sentencing set for 6/15/2021 at 09:30 AM before Judge Randy
                       Crane ( Signed by Judge Randy Crane) Parties notified. (ocasas, 7) (Entered:
                       04/01/2021)

04/01/2021          38 PLEA AGREEMENT as to Reid Etheridge, filed. (Morales, Osvaldo) (Entered:
               (p.324) 04/01/2021)

05/11/2021

                                                                                                  22-40516.7
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                    39 Attorney Only Document (Sealed) as to Reid Etheridge. NOTICE: Document
               (p.327) available to applicable parties only. Authorized users enter CM/ECF Filer login and
                       password first for authentication. Be sure to SAVE the attached documents locally at
                       the time of viewing. (Main Doc: Initial PSR) (MaeganMartinez, 7) (Entered:
                       05/11/2021)

05/24/2021          41 Unopposed MOTION to Continue Sentencing Hearing by Reid Etheridge, filed.
                (p.66) (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 05/24/2021)

05/24/2021          42 NOTICE of Withdrawal of Document No. 41 by Reid Etheridge re 41 (p.66)
                (p.69) Unopposed MOTION to Continue Sentencing Hearing , filed.(Morales, Osvaldo)
                       (Entered: 05/24/2021)

05/24/2021          43 Opposed MOTION to Continue Sentencing Hearing by Reid Etheridge, filed.
                (p.70) (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 05/24/2021)

06/04/2021          44 Final Presentence Investigation Report (Sealed) as to Reid Etheridge, filed. (msosa, 1)
               (p.351) (Entered: 06/04/2021)

06/04/2021          45 Sealed Addendum to 44 (p.351) Final Presentence Investigation Report (Sealed) as to
               (p.375) Reid Etheridge, filed. (msosa, 1) (Entered: 06/04/2021)

06/07/2021          48 Order Resetting Sentencing as to Reid Etheridge and Alicia Cronkhite. Sentencing
                (p.73) reset for 7/13/2021 at 09:30 AM before Judge Randy Crane ( Signed by Judge Randy
                       Crane) Parties notified. (agarcia, 7) (Entered: 06/07/2021)

06/08/2021          49 MOTION for Leave to File Objections to Pre-Sentence Report by Reid Etheridge,
                (p.74) filed. (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered:
                       06/08/2021)

06/08/2021          50 OBJECTION by Reid Etheridge to Pre-Sentence Report, filed.(Morales, Osvaldo)
                (p.77) (Entered: 06/08/2021)

06/09/2021          51 ORDER as to Reid Etheridge granting 49 (p.74) MOTION for Leave to File
                (p.79) Objections to Pre-Sentence Report ( Signed by Judge Randy Crane) Parties notified.
                       (agarcia, 7) (Entered: 06/09/2021)

06/15/2021          52 Second Sealed Addendum to 44 (p.351) Final Presentence Investigation Report
               (p.376) (Sealed) as to Reid Etheridge, filed. (JoyceWinkler, 7) (Entered: 06/15/2021)

07/08/2021          58 MOTION for Leave to File Agreed Joint Motion for Continuance by Reid Etheridge,
                (p.80) filed. (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered:
                       07/08/2021)

07/08/2021          59 Joint MOTION to Continue Sentencing Hearing by Reid Etheridge, filed.
                (p.83) (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 07/08/2021)

07/12/2021          60 Third Sealed Addendum to 44 (p.351) Final Presentence Investigation Report
               (p.378) (Sealed) as to Reid Etheridge, filed. (MaeganMartinez, 7) (Entered: 07/12/2021)

07/12/2021          61 Sealed Attachment to 60 (p.378) Sealed Addendum to PSR as to Reid Etheridge,
               (p.379) filed. (MaeganMartinez, 7) (Entered: 07/12/2021)

07/12/2021          62 Sentencing Document(Sealed), filed. (MaeganMartinez, 7) (Entered: 07/12/2021)
               (p.396)

07/13/2021              Minute Entry for proceedings held before Judge Randy Crane: HEARING re:
                        Sentencing as to Reid Etheridge (1), Alicia Cronkhite (2) held on 7/13/2021. Defense

                                                                                                    22-40516.8
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                        counsel orally urged 41 (p.66) Unopposed MOTION to Continue Sentencing Hearing
                        to allow time for defendants to receive appropriate evaluation. After discussion, the
                        Court GRANTED 41 (p.66) as to both defendants and will reset by further order.
                        Appearances: Michael L. Mitchell, AUSA; Osvaldo J. Morales, III (1)/Judith Ann
                        Cantu (2), Defendants.(ERO:Ricardo Rodriguez) (Interpreter:Elena Medrano-not
                        used.) Deft remanded to custody of the Marshal., filed.(DeliaRodriguez, 7) (Entered:
                        07/13/2021)

07/13/2021          63 ORDER RESETTING SENTENCING as to Reid Etheridge, Alicia Cronkhite.
                (p.86) Sentencing reset for 10/19/2021 at 09:30 AM before Judge Randy Crane (signed by
                       Judge Randy Crane) Parties notified. (XavierAvalos, 7) (Entered: 07/13/2021)

09/07/2021          64 MOTION for Leave to File SEALED MOTION TO PROCEED EX PARTE AND
                (p.87) APPOINT EXPERT ASSISTANCE by Reid Etheridge, filed. (Attachments: # 1
                       (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 09/07/2021)

09/07/2021          65 Sealed Event, filed. (With attachments) (Entered: 09/07/2021)
               (p.400)

09/10/2021          66 Sealed Order. (Entered: 09/10/2021)
               (p.405)

09/10/2021          67 (Court only) Document(s) Sent by regular mail to Osvaldo Morales III, filed. (agarcia,
               (p.406) 7) (Entered: 09/10/2021)

09/16/2021              Minute Entry for proceedings held before Judge Randy Crane: HEARING re: Motion
                        Hearing as to Reid Etheridge held on 9/16/2021. Case called on docket. The Court
                        informed parties defendant was not medically cleared. Thereafter, the Court informed
                        the parties of the different avenues parties may take to have defendant mentally
                        evaluated by an expert. Appearances: Michael L. Mitchell, AUSA; Osvaldo J.
                        Morales, III, Ret; M. Olivarez, US Probation-Mc.(ERO: Ricardo Rodriguez)
                        (Interpreter: Elena Medrano-not used.), filed.(DeliaRodriguez, 7) (Entered:
                        09/16/2021)

10/05/2021          70 MOTION for Leave to File MOTION FOR LEAVE OF COURT TO FILE MOTION
                (p.90) FOR CONTINUANCE by Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed
                       Order)(Morales, Osvaldo) (Entered: 10/05/2021)

10/05/2021          71 Opposed MOTION to Continue Sentencing Hearing by Reid Etheridge, filed.
                (p.93) (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 10/05/2021)

10/18/2021          73 ORDER RESETTING SENTENCING as to Reid Etheridge, Alicia Cronkhite (
                (p.96) Sentencing reset for 12/16/2021 at 09:30 AM before Judge Randy Crane) ( Signed by
                       Judge Randy Crane) Parties notified. (drodriguez, 7) (Entered: 10/18/2021)

10/19/2021          74 MOTION Motion of Defendant Reid Etheridge to be Declared Indigent for Costs by
                (p.97) Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo)
                       (Entered: 10/19/2021)

10/21/2021              (Court only) MOTIONS as to Reid Etheridge REFERRED to Judge J Scott Hacker:
                        74 (p.97) MOTION Motion of Defendant Reid Etheridge to be Declared Indigent for
                        Costs . Designated staff for referral judge notified by NEF. (agarcia, 7) (Entered:
                        10/21/2021)

11/05/2021          75 Sealed Order, filed. (Entered: 11/05/2021)
               (p.407)


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11/05/2021          76 (Court only) Document(s) Sent by regular mail to Attorney Osvaldo Morales re: 75
               (p.410) (p.407) Sealed Order, filed. (agarcia, 7) (Entered: 11/05/2021)

11/12/2021          77 RESPONSE by Reid Etheridge as to Reid Etheridge, Alicia Cronkhite ,
                (p.99) filed.(Morales, Osvaldo) (Entered: 11/12/2021)

11/15/2021          78 Sealed Order, filed. (Entered: 11/15/2021)
               (p.411)

11/15/2021          79 (Court only) ***(PRIVATE ENTRY) DOC 78 (p.411) Sealed Order mailed to
               (p.414) defense counsel Osvaldo Morales III, filed. (agarcia, 7) (agarcia, 7). (Entered:
                       11/15/2021)

11/29/2021          80 Supplemental MOTION to Appoint Expert Dr. Silver by Reid Etheridge, filed.
               (p.101) (Attachments: # 1 (p.16) Exhibit Financial Resources, # 2 (p.387) Exhibit Fees and
                       Services for Dr. Silver)(Morales, Osvaldo) (Entered: 11/29/2021)

12/02/2021          81 Unopposed MOTION to Continue plea by Reid Etheridge, filed. (Attachments: # 1
               (p.139) (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 12/02/2021)

12/08/2021              (Court only) MOTIONS as to Reid Etheridge REFERRED to Judge J Scott Hacker:
                        80 (p.101) Supplemental MOTION to Appoint Expert Dr. Silver. Designated staff for
                        referral judge notified by NEF. (YeseniaIbarra, 7) (Entered: 12/08/2021)

12/08/2021          82 ORDER RESETTING SENTENCING as to Reid Etheridge, Alicia Cronkhite (
               (p.142) Sentencing reset for 2/24/2022 at 09:30 AM before Judge Randy Crane) ( Signed by
                       Judge Randy Crane) Parties notified. (drodriguez, 7) (Entered: 12/08/2021)

12/14/2021          84 Sealed Order, filed. (Entered: 12/14/2021)
               (p.415)

12/14/2021              (Court only) Document(s) Sent by certified mail to Defense Counsel Osvaldo Morales
                        - receipt attached, access restricted to court users for privacy reasons - re: 84 (p.415)
                        Sealed Order, filed. (drodriguez, 7) (Entered: 12/14/2021)

12/21/2021          85 Sealed Event, filed. (With attachments) (Entered: 12/21/2021)
               (p.421)

12/21/2021              (Court only) MOTIONS as to Reid Etheridge REFERRED to Judge J Scott Hacker:
                        85 (p.421) Sealed Event. Designated staff for referral judge notified by NEF. (agarcia,
                        7) (Entered: 12/21/2021)

12/21/2021          86 ORDER granting 85 (p.421) Sealed Motion as to Reid Etheridge (1).(Signed by
               (p.424) Magistrate Judge J Scott Hacker.) Parties notified.(drodriguez, 7) (Entered:
                       12/22/2021)

01/13/2022          87 *SEALED* Sealed Minute Entry re: Motion 74 (p.97) as to Reid Etheridge, filed.
               (p.425) (Entered: 01/14/2022)

02/08/2022          88 MOTION for Leave to File MOTION FOR LEAVE OF COURT TO FILE MOTION
               (p.143) FOR CONTINUANCE by Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed
                       Order)(Morales, Osvaldo) (Entered: 02/08/2022)

02/08/2022          89 Opposed MOTION to Continue Sentencing Hearing by Reid Etheridge, filed.
               (p.146) (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 02/08/2022)

02/24/2022              Minute Entry for proceedings held before Judge Randy Crane: HEARING re:
                        Sentencing as to Reid Etheridge held on 2/24/2022. The Court called case on docket.

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                        Status of case discussed. Later, the Court GRANTED 89 (p.146) Opposed MOTION
                        to Continue Sentencing Hearing and will reset for April 2022 by further order.
                        Appearances: Michael L. Mitchell, AUSA; Osvaldo J. Morales, III, Ret; S. Solis, US
                        Probation-Mc. (ERO: Ricardo Rodriguez) (Interpreter:Elena Medrano-not used.) Deft
                        remanded to custody of the Marshal., filed.(DeliaRodriguez, 7) (Entered: 02/24/2022)

02/24/2022          92 ORDER RESETTING SENTENCING as to Reid Etheridge, Alicia Cronkhite (
               (p.149) Sentencing reset for 4/26/2022 at 09:30 AM before Judge Randy Crane) ( Signed by
                       Judge Randy Crane) Parties notified. (drodriguez, 7) (Entered: 02/24/2022)

03/10/2022         100 *SEALED* Sealed Minute Entry re: 65 (p.400) as to Ried Etheridge, filed. (Entered:
               (p.459) 03/30/2022)

03/15/2022          93 Sealed Event, filed. (With attachments) (Entered: 03/15/2022)
               (p.426)

03/15/2022          94 Sealed Event, filed. (With attachments) (Entered: 03/15/2022)
               (p.429)

03/15/2022          95 Sealed Order, filed. (Entered: 03/15/2022)
               (p.433)

03/15/2022              (Court only) MOTIONS as to Reid Etheridge REFERRED to Judge J Scott Hacker:
                        93 (p.426) Sealed Event. Designated staff for referral judge notified by NEF. (agarcia,
                        7) (Entered: 03/15/2022)

03/15/2022          96 ORDER denying as moot 93 (p.426) Sealed Motion as to Reid Etheridge (1).(Signed
               (p.435) by Magistrate Judge J Scott Hacker.) Parties notified.(agarcia, 7) (Entered:
                       03/15/2022)

03/17/2022          97 Sealed Event, filed. (With attachments) (Entered: 03/17/2022)
               (p.436)

03/23/2022          98 SEALED Event, filed. ( Signed by Magistrate Judge J Scott Hacker) Parties notified.
               (p.452) (agarcia, 7) (agarcia, 7). (Entered: 03/23/2022)

03/25/2022          99 Sealed Event, filed. (Entered: 03/25/2022)
               (p.458)

04/14/2022         101 Sealed Order, filed. (Entered: 04/14/2022)
               (p.460)

04/14/2022         102 MEMORANDUM by Reid Etheridge, filed.(agarcia, 7) (agarcia, 7). (Entered:
               (p.462) 04/15/2022)

04/19/2022         103 Sealed Event, filed. (Entered: 04/19/2022)
               (p.464)

04/22/2022         104 Opposed MOTION to Continue Sentencing Hearing by Reid Etheridge, filed.
               (p.150) (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 04/22/2022)

04/22/2022         105 Opposed MOTION to Continue Sentencing Hearing by Reid Etheridge, filed.
               (p.465) (Attachments: # 1 (p.16) Proposed Order)(Morales, Osvaldo) (Entered: 04/22/2022)

04/22/2022         106 Opposed MOTION for Leave to File Motion for Leave to File Motion for
               (p.153) Continuance by Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed
                       Order)(Morales, Osvaldo) (Entered: 04/22/2022)


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04/22/2022              (Court only) ***Motions terminated as to Reid Etheridge re: 80 (p.101) Supplemental
                        Briefing to be Declared Indigent filed by Reid Etheridge, and Defendant's 74 (p.97)
                        Motion to be Declared Indigent for Costs filed by Reid Etheridge. (dflores, 7)
                        (Entered: 05/04/2022)

04/25/2022         107 ORDER RESETTING SENTENCING as to Reid Etheridge, Alicia Cronkhite
               (p.156) (Sentencing reset for 5/31/2022 at 09:30 AM before Judge Randy Crane) ( Signed by
                       Judge Randy Crane) Parties notified. (OmarOrta, 7) (Entered: 04/25/2022)

05/05/2022         108 Sealed Event, filed. (With attachments) (Entered: 05/05/2022)
               (p.468)

05/11/2022         109 NOTICE OF ATTORNEY APPEARANCE: Victoria Guerra appearing for Reid
               (p.157) Etheridge , filed.(Guerra, Victoria) (Entered: 05/11/2022)

05/27/2022         110 Opposed MOTION to Continue Sentencing Hearing Set For May 31, 2022 by Reid
               (p.159) Etheridge, filed. (Attachments: # 1 (p.16) Proposed Order)(Guerra, Victoria)
                       (Entered: 05/27/2022)

05/27/2022         111 Sealed Event, filed. (Entered: 05/27/2022)
               (p.483)

05/31/2022              Minute Entry for proceedings held before Judge Randy Crane: HEARING re:
                        Sentencing as to Reid Etheridge (1), Alicia Cronkhite (2) held on 5/31/2022. Case
                        called on docket. Defense counsel urged 110 (p.159) Opposed MOTION to Continue
                        Sentencing Hearing Set For May 31, 2022 as to Reid Etheridge. After discussion, the
                        Court GRANTED motion and will reset for 7/6/2022, by further order, as to both
                        defendants. Appearances: Michael L. Mitchell, AUSA; Victoria Guerra/Osvaldo J.
                        Morales, III/Judith Ann Cantu, Ret; S. Solis/ M. Rodriguez, US Probation-Mc.(ERO:
                        Ricardo Rodriguez) (Interpreter:Elena Medrano-not used.) Deft remanded to custody
                        of the Marshal., filed.(DeliaRodriguez, 7) (Entered: 05/31/2022)

05/31/2022         112 Order Resetting Sentencing. Sentencing reset for 7/7/2022 at 10:00 AM before Judge
               (p.163) Randy Crane ( Signed by Judge Randy Crane) Parties notified. (agarcia, 7) (Entered:
                       05/31/2022)

07/05/2022         113 Sealed Event, filed. (With attachments) (Entered: 07/05/2022)
               (p.485)

07/06/2022         114 Order Resetting Sentencing. Sentencing reset for 7/21/2022 at 09:00 AM before
               (p.164) Judge Randy Crane ( Signed by Judge Randy Crane) Parties notified. (lelizondo, 7)
                       (Entered: 07/06/2022)

07/19/2022         115 Sealed Event, filed. (With attachments) (Entered: 07/19/2022)
               (p.489)

07/20/2022         116 ORDER as to Reid Etheridge Granting 115 (p.489) Sealed Event ( Signed by Judge
               (p.165) Randy Crane) Parties notified. (agarcia, 7) (Entered: 07/20/2022)

07/20/2022         117 Sentencing Memorandum (Sealed) by USA as to Reid Etheridge, filed. (Entered:
               (p.492) 07/20/2022)

07/21/2022         119 Sentencing Memorandum (Sealed) by Reid Etheridge, filed. (With attachments)
               (p.499) (Entered: 07/21/2022)

07/21/2022              Minute Entry for proceedings held before Judge Randy Crane: Sentencing held on
                        7/21/2022 for Reid Etheridge (1). Victims presented testimony. [TOL=43, GRS=Life]


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                        Sentence Count(s) 1: Three hundred and sixty (360) months custody of the Bureau of
                        Prisons and supervised release term for life to run concurrent with Count 2 and 3;
                        Count(s) 2: Three hundred and sixty (360) months custody of the Bureau of Prisons
                        and supervised release term for life to run concurrent with Count 1 and 3; Count(s) 3:
                        Life custody of the Bureau of Prisons and supervised release term for life, to run
                        concurrent with Counts 1 and 2, if defendant is released on supervised release term
                        special conditions: Sex Offender Registration and Notification Act Requirements, No
                        Contact with Minors, No Possession of Pornographic Materials, Computer
                        Restrictions/Monitoring, Sex Offender Treatment, Sex Offender Safety Zone, Sex
                        Offender Employment/Activity Prohibition, Sex Offender Minor Date/Cohabitate
                        Prohibition, Sex Offender Victim Contact Prohibition, *no contact with co-defendant,
                        as noted in final presentence report; Restitution in the amount $12,000 to Victim #1
                        and $10,000 to Victim #2, payable immediately after defendant is released from
                        imprisonment; $100 special assessment as to each count for a total of $300; waived
                        fine. The Court advised the defendant of his right to an appeal. The Court
                        recommended placement in a facility where the defendant may receive psycho
                        treatment. Count(s) 5: Dismissed on Government's oral motion. Reid Etheridge
                        terminated. Appearances: Michael L. Mitchell, AUSA; Victoria Guerra/Osvaldo J.
                        Morales, III, Retained; M. Rodriguez in lieu of S. Solis, US
                        Probation-Mc.(ERO:Ricardo Rodriguez) (Interpreter: Elena Medrano-not used.) Deft
                        remanded to custody of the Marshal., filed.(DeliaRodriguez, 7) *Modified on
                        7/21/2022 (DeliaRodriguez, 7). (Entered: 07/21/2022)

07/21/2022              (Court only) ***Case Terminated as to Reid Etheridge (DeliaRodriguez, 7) (Entered:
                        07/21/2022)

07/29/2022         120 JUDGMENT as to Reid Etheridge (Signed by Judge Randy Crane) Parties notified.
               (p.166) (lcorbett, 7) (Entered: 07/29/2022)

07/29/2022         121 Statement of Reasons (Sealed) as to Reid Etheridge. NOTICE: Document available to
               (p.383) applicable parties only. Authorized users enter CM/ECF Filer login and password first
                       for authentication. Instructions available at
                       http://www.txs.uscourts.gov/attorney-information - Electronic Access to Sealed
                       Documents. Be sure to SAVE the document locally at the time of viewing, filed.
                       (Entered: 07/29/2022)

08/03/2022         124 NOTICE OF APPEAL to US Court of Appeals for the Fifth Circuit by Reid Etheridge
               (p.173) as to Reid Etheridge, filed.(Guerra, Victoria) (Entered: 08/03/2022)

08/03/2022         125 Unopposed MOTION to Withdraw as Attorney by Osvaldo Morales and by Victoria
               (p.175) Guerra by Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed Order)(Guerra,
                       Victoria) (Entered: 08/03/2022)

08/03/2022         126 Sealed Event, filed. (With attachments) (Entered: 08/03/2022)
               (p.530)

08/03/2022              (Court only) MOTIONS as to Reid Etheridge REFERRED to Judge Nadia S
                        Medrano: 125 (p.175) Unopposed MOTION to Withdraw as Attorney by Osvaldo
                        Morales and by Victoria Guerra. Designated staff for referral judge notified by NEF.
                        (agarcia, 7) (Entered: 08/03/2022)

08/03/2022              (Court only) MOTIONS as to Reid Etheridge REFERRED to Judge Nadia S
                        Medrano: 126 (p.530) Sealed Event. Designated staff for referral judge notified by
                        NEF. (agarcia, 7) (Entered: 08/03/2022)

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                        Attorney update in case as to Reid Etheridge. Attorney Carmen Castillo Mitchell for
                        USA added. (AmySanchez, 7) (Entered: 08/04/2022)

08/04/2022         127 Clerks Notice of Filing of an Appeal as to Reid Etheridge. The following Notice of
               (p.178) Appeal is pending in the District Court: 124 (p.173) Notice of Appeal - Judgment and
                       Sentence. Fee status: Not Paid. Reporter(s): Ricardo Rodriguez,filed. (Attachments: #
                       1 (p.16) Notice of Appeal, # 2 (p.387) Docket Sheet, # 3 (p.18) Judgment)
                       (AmySanchez, 7) (Entered: 08/04/2022)

08/04/2022              Appeal Review Notes as to Reid Etheridge re: 124 (p.173) Notice of Appeal -
                        Judgment and Sentence. Fee status: Not Paid. The appeal filing fee has not been paid,
                        and the appellant is represented by counsel.Hearings were held in the case. DKT13
                        transcript order form(s) due within 14 days of the filing of the notice of
                        appeal.Hearings were held in the case - transcripts were produced. Number of
                        DKT-13 Forms expected: 1,filed.(AmySanchez, 7) (Entered: 08/04/2022)

08/04/2022              (Court only) Document(s) Sent by regular mail to Victoria Guerra Law Office of
                        Victoria Guerra Co-Counsel, 3219 N. McColl Rd. McAllen, TX 78501 re: 127
                        (p.178) Clerk's Notice of Filing of an Appeal,, filed. (AmySanchez, 7) (Entered:
                        08/04/2022)

08/04/2022         128 ORDER GRANTING DEFENDANT'S MOTION TO PROCEED ON APPEAL IN
               (p.200) FORMA PAUPERIS granting 126 (p.530) Sealed Motion as to Reid Etheridge
                       (1).(Signed by Magistrate Judge Nadia S Medrano.) Parties notified.(SandraSilva, 7)
                       (Entered: 08/05/2022)

08/04/2022         129 ORDER GRANTING DEFENDANT'S ATTORNEYS' MOTION TO WITHDRAW
               (p.201) AND APPOINTMENT OF APPELLATE COUNSEL as to Reid Etheridge granting
                       125 (p.175) Unopposed MOTION to Withdraw as Attorney by Osvaldo Morales and
                       by Victoria Guerra. Attorney Victoria Guerra and Osvaldo J Morales, III terminated
                       in case as to Reid Etheridge. (Signed by Magistrate Judge Nadia S Medrano) Parties
                       notified. (SandraSilva, 7) (Entered: 08/05/2022)

08/04/2022         130 ORDER APPOINTING FEDERAL PUBLIC DEFENDER on appeal for Reid
               (p.202) Etheridge ( Signed by Magistrate Judge Nadia S Medrano) Parties notified.
                       (YeseniaIbarra, 7) (Entered: 08/05/2022)

08/09/2022              NOTICE OF ATTORNEY APPEARANCE Evan Gray Howze, Federal Public
                        Defender, in case as to Reid Etheridge, filed.(Howze, Evan) (Entered: 08/09/2022)

08/17/2022         131 DKT13 TRANSCRIPT ORDER REQUEST by Appellant as to Reid Etheridge. This
               (p.203) is to order a transcript of 04/01/21: Re-Arraignment; 07/13/21: Hearing Re
                       Sentencing; 09/16/21: Motion Hearing; 02/24/22: Hearing re Sentencing all held
                       before the Hon. Randy Crane. Court Reporter/Transcriber: Judicial Transcribers of
                       Texas. This order form relates to the following: Hearing,, Hearing,, Hearing,, 124
                       (p.173) Notice of Appeal - Judgment and Sentence, Re-Arraignment,, filed.
                       (Attachments: # 1 (p.16) FPD Transcript Request and Invoice)(Meyers, Marjorie)
                       (Entered: 08/17/2022)

08/17/2022         132 DKT13 TRANSCRIPT ORDER REQUEST by Appellant as to Reid Etheridge. This
               (p.205) is to order a transcript of 05/31/22: Hearing re Sentencing held before the Hon. Randy
                       Crane; 07/21/22: Sentencing held before the Hon. Randy Crane. Court
                       Reporter/Transcriber: Judicial Transcribers of Texas. This order form relates to the
                       following: Hearing,, 124 (p.173) Notice of Appeal - Judgment and Sentence,
                       Sentencing,,,,,,,, Terminate Parties,,,,,,,, filed. (Attachments: # 1 (p.16) FPD
                       Transcript Request and Invoice)(Meyers, Marjorie) (Entered: 08/17/2022)

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08/23/2022         133 DKT13 TRANSCRIPT ORDER REQUEST by Marjorie Meyers as to Reid
               (p.207) Etheridge. This is to order a transcript of SEE ATTACHED AO435 for HEARING
                       DATES.Transcriber: Judicial Transcribers of Texas. This order form relates to the
                       following: 124 (p.173) Notice of Appeal - Judgment and Sentence,filed.(rirodriguez,
                       7) (Entered: 08/23/2022)

09/06/2022         134 *FILED IN ERROR* Unopposed MOTION to Withdraw as Attorney by Victoria
               (p.212) Guerra by Reid Etheridge, filed. (Attachments: # 1 (p.16) Proposed Order)(Guerra,
                       Victoria) *Modified on 9/6/2022 (klopez, 7). (Entered: 09/06/2022)

09/06/2022              (Court only) ***Motions terminated as to Reid Etheridge re: 134 (p.212) Unopposed
                        MOTION to Withdraw as Attorney by Victoria Guerra filed by Reid Etheridge.
                        (klopez, 7) (Entered: 09/06/2022)

09/27/2022         135 APPEAL TRANSCRIPT as to Reid Etheridge re: Re-Arraignment held on April 1,
               (p.215) 2021 before Judge Randy Crane. Court Reporter/Transcriber Judicial Transcribers of
                       Texas, LLC. Ordering Party Marjorie A. Meyers This transcript relates to the
                       following: 131 (p.203) Appeal Transcript Request,, 133 (p.207) Appeal Transcript
                       Request, 124 (p.173) Notice of Appeal - Judgment and Sentence. Release of
                       Transcript Restriction set for 12/27/2022., filed. (mahenry, ) (Entered: 09/27/2022)

09/27/2022         136 APPEAL TRANSCRIPT as to Reid Etheridge re: Hearing Re: Sentencing held on
               (p.234) July 13, 2021 before Judge Randy Crane. Court Reporter/Transcriber Judicial
                       Transcribers of Texas, LLC. Ordering Party Marjorie A. Meyers This transcript
                       relates to the following: 131 (p.203) Appeal Transcript Request,, 133 (p.207) Appeal
                       Transcript Request, 124 (p.173) Notice of Appeal - Judgment and Sentence. Release
                       of Transcript Restriction set for 12/27/2022., filed. (mahenry, ) (Entered: 09/27/2022)

09/27/2022         137 APPEAL TRANSCRIPT as to Reid Etheridge re: Motion Hearing held on September
               (p.246) 16, 2021 before Judge Randy Crane. Court Reporter/Transcriber Judicial Transcribers
                       of Texas, LLC. Ordering Party Marjorie A. Meyers This transcript relates to the
                       following: 131 (p.203) Appeal Transcript Request,, 133 (p.207) Appeal Transcript
                       Request, 124 (p.173) Notice of Appeal - Judgment and Sentence. Release of
                       Transcript Restriction set for 12/27/2022., filed. (mahenry, ) (Entered: 09/27/2022)

09/27/2022         138 APPEAL TRANSCRIPT as to Reid Etheridge re: Hearing Re: Sentencing held on
               (p.252) February 24, 2022 before Judge Randy Crane. Court Reporter/Transcriber Judicial
                       Transcribers of Texas, LLC. Ordering Party Marjorie A. Meyers This transcript
                       relates to the following: 131 (p.203) Appeal Transcript Request,, 133 (p.207) Appeal
                       Transcript Request, 124 (p.173) Notice of Appeal - Judgment and Sentence. Release
                       of Transcript Restriction set for 12/27/2022., filed. (mahenry, ) (Entered: 09/27/2022)

09/27/2022         139 APPEAL TRANSCRIPT as to Reid Etheridge re: Hearing Re: Sentencing held on
               (p.260) May 31, 2022 before Judge Randy Crane. Court Reporter/Transcriber Judicial
                       Transcribers of Texas, LLC. Ordering Party Marjorie A. Meyers This transcript
                       relates to the following: 133 (p.207) Appeal Transcript Request, 124 (p.173) Notice of
                       Appeal - Judgment and Sentence, 132 (p.205) Appeal Transcript Request,,. Release of
                       Transcript Restriction set for 12/27/2022., filed. (mahenry, ) (Entered: 09/27/2022)

09/27/2022         140 APPEAL TRANSCRIPT as to Reid Etheridge re: Sentencing held on July 21, 2022
               (p.271) before Judge Randy Crane. Court Reporter/Transcriber Judicial Transcribers of
                       Texas, LLC. Ordering Party Marjorie A. Meyers This transcript relates to the
                       following: 133 (p.207) Appeal Transcript Request, 124 (p.173) Notice of Appeal -
                       Judgment and Sentence, 132 (p.205) Appeal Transcript Request,,. Release of
                       Transcript Restriction set for 12/27/2022., filed. (mahenry, ) (Entered: 09/27/2022)


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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1                                                                                   United States District Court
                                                                                                                   Southern District of Texas

                                           UNITED STATES DISTRICT COURT                                               ENTERED
                                                 SOUTHERN DISTRICT OF TEXAS                                           July 29, 2022
                                                    Holding Session in McAllen                                     Nathan Ochsner, Clerk

         UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                 v.
                  REID ETHERIDGE                                     CASE NUMBER: 7:20CR01791-001

                                                                     USM NUMBER: 11212-509

                                                                     Victoria Guerra and Osvaldo J Morales, III
                                                                     Defendant’s Attorney
THE DEFENDANT:
 pleaded guilty to count(s) 1, 2 and 3 on April 1, 2021.
 pleaded nolo contendere to count(s)
  which was accepted by the court.
 was found guilty on count(s)
  after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section            Nature of Offense                                                                Offense Ended        Count
18 U.S.C. § 2251(a)        Production of child pornography.                                                   10/01/2020             1
18 U.S.C. § 2251(a)        Production of child pornography.                                                   10/01/2020             2
18 U.S.C. § 2422(b)        Coercion and enticement of a minor                                                 10/01/2020             3
☐ See Additional Counts of Conviction.
        The defendant is sentenced as provided in pages 2 through 7         of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
 The defendant has been found not guilty on count(s)
    Count(s) 5, as to this defendant,                   is dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                   July 21, 2022
                                                                   Date of Imposition of Judgment


                                                                   ReservedForJudgeSignature
                                                                   Signature of Judge


                                                                   RANDY CRANE
                                                                   UNITED STATES DISTRICT JUDGE
                                                                   Name and Title of Judge

                                                                   July 29, 2022
                                                                   ReservedForSignDate
                                                                   Date




                                                                                                                     22-40516.166
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                       Sheet 2 – Imprisonment
                                                                                                 Judgment — Page   2    of        7
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                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term
of: Life as to Count 3 and 360 months as to each of Counts 1 and 2, said imprisonment terms to run concurrently with each other.


 See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:
      That the defendant be placed in an institution where he can receive any counseling available through the sex
      offender/psychosexual treatment program.

 The defendant is remanded to the custody of the United States Marshal.


 The defendant shall surrender to the United States Marshal for this district:
       at                             on
       as notified by the United States Marshal.


 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       before 2 p.m. on
       as notified by the United States Marshal.
       as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                     to

 at                                                  , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL




                                                                       By
                                                                                         DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 09/19)      Judgment in a Criminal Case
                          Sheet 3 – Supervised Release
                                                                                                           Judgment — Page        3      of        7
 DEFENDANT:                 REID ETHERIDGE
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: Life as to each of Counts 1, 2 and 3, said supervised
release terms to run concurrently with each other.

                                                   MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
      and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance abuse.
                  (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (check
            if applicable)
5.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed by
            the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work, are a
            student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
     See Special Conditions of Supervision.
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
      imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must
      report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
      the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such
      as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance
      is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
      expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
      items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
      you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
      plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
      officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
      felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
      or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
      the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to
      notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you
      have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.
14.   If restitution is ordered, the defendant must make restitution as ordered by the Judge and in accordance with the applicable provisions of 18 U.S.C.
      §§ 2248, 2259, 2264, 2327, 3663A and/or 3664. The defendant must also pay the assessment imposed in accordance with 18 U.S.C. § 3013.
15.   The defendant must notify the U.S. Probation Office of any material change in the defendant’s economic circumstances that might affect the
      defendant’s ability to pay restitution, fines, or special assessments.


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                       Sheet 3D – Supervised Release
                                                                                       Judgment — Page    4     of        7
 DEFENDANT:              REID ETHERIDGE
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                                   SPECIAL CONDITIONS OF SUPERVISION
You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
where you reside, work, are a student, or were convicted of a qualifying offense.
You must not have direct contact with any child you know or reasonably should know to be under the age of 18, including
your own children, without the permission of the probation officer. If you do have any direct contact with any child you
know or reasonably should know to be under the age of 18, including your own children, without the permission of the
probation officer, you must report this contact to the probation officer within 24 hours. Direct contact includes written
communication, in-person communication, or physical contact. Direct contact does not include incidental contact during
ordinary daily activities in public places.
You must not possess and/or use computers or other electronic communications or data storage devices or media, without
the prior approval of the probation officer. If approved, you shall consent to the ongoing monitoring of all devices. To ensure
compliance with the computer monitoring, you must allow the probation officer to conduct initial and periodic unannounced
searches of any computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to computer monitoring. These searches shall be
conducted for the purposes of determining whether the computer contains any prohibited data prior to installation of the
monitoring software; to determine whether the monitoring software is functioning effectively after its installation; and to
determine whether there have been attempts to circumvent the monitoring software after its installation.
You must not seek or maintain employment, supervise, volunteer, or participate in any program and/or activity where minors
under the age of 18 would congregate, without prior written approval of the United States Probation Officer. This would
include athletic, religions, volunteer, civic, or cultural activities designed for minors under the age of 18.
You must participate in a mental-health treatment program and follow the rules and regulations of that program. The
probation officer, in consultation with the treatment provider, will supervise your participation in the program, including
the provider, location, modality, duration, and intensity.

The must have no contact with the co-defendant, Alicia Cronkhite, in this case.




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 – Criminal Monetary Penalties
                                                                                                 Judgment — Page      5     of       7
    DEFENDANT:           REID ETHERIDGE
    CASE NUMBER:         7:20CR01791-001

                                        CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                Assessment              Restitution            Fine                  AVAA Assessment1           JVTA Assessment2
TOTALS          $300.00                 $22,000.00             $0.00                 $0.00                      $0.00

☒ See Additional Terms for Criminal Monetary Penalties.
 The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case (AO 245C) will
  be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                                                          Total Loss3       Restitution Ordered       Priority or Percentage
 K.C. (Victim #1)                                                      $12,000.00                  $12,000.00

 See Additional Restitution Payees.
TOTALS                                                                          $                           $

     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       the interest requirement is waived for the  fine  restitution.

       the interest requirement for the  fine  restitution is modified as follows:


     Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be
      effective. Therefore, the assessment is hereby remitted.
1
      Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
2
      Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
3
      Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.




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                       Sheet 5B – Criminal Monetary Penalties
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    DEFENDANT:           REID ETHERIDGE
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                                       ADDITIONAL RESTITUTION PAYEES
Name of Payee                                                    Total Loss3       Restitution Ordered        Priority or Percentage
 E.E. (Victim #2)                                                $10,000.00                  $10,000.00


     See Additional Restitution Payees.

3
      Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.




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AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 6 – Schedule of Payments
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    DEFENDANT:             REID ETHERIDGE
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A         Lump sum payment of $300.00                        due immediately, balance due
          not later than               , or
          in accordance with  C,  D,  E, or  F below; or
B         Payment to begin immediately (may be combined with  C,  D, or  F below); or
C         Payment in equal                             installments of $                   over a period of                               ,
           to commence                                after the date of this judgment; or
D         Payment in equal                             installments of $                 over a period of                                 ,
           to commence                                after release from imprisonment to a term of supervision; or
E         Payment during the term of supervised release will commence immediately                    after release from imprisonment.
           The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F         Special instructions regarding the payment of criminal monetary penalties:
           Payable to:     Clerk, U.S. District Court
                           Attn: Finance
                           P.O. Box 5059
                           McAllen, TX 78502
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
     Joint and Several
Case Number
Defendant and Co-Defendant Names                                                  Joint and Several             Corresponding Payee,
(including defendant number)                                Total Amount              Amount                       if appropriate

☐     See Additional Defendants and Co-Defendants Held Joint and Several.
     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.




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                          TAB 4
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                          TAB 5
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                         CERTIFICATE OF SERVICE

      I certify that these record excerpts have been served upon counsel for the

appellee by notice of electronic filing with the Fifth Circuit CM/ECF system.

                                      s/ Evan G. Howze
                                      EVAN G. HOWZE
